             Case 2:20-cv-00593-BJR Document 16 Filed 05/01/20 Page 1 of 4




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 2                                                          The Honorable Barbara J. Rothstein

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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     IN RE SUBPOENA TO
11   JIMMY NGUYEN                                  Case No. 2:20-cv-00593-BJR

12
     IRA KLEIMAN, as the personal                  DECLARATION OF VELVEL (DEVIN)
13   representative of the Estate of David         FREEDMAN IN SUPPORT OF
     Kleiman, and W&K Info Defense Research,       PLAINTIFFS’ SECOND MOTION TO
14   LLC,                                          COMPEL

15                                   Plaintiffs,   NOTED ON MOTION CALENDAR:
                                                   TBD
16      v.

17   CRAIG WRIGHT,

18                                  Defendant.

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24   PLAINTIFFS’ MOTION TO COMPEL                        ROCHE CYRULNIK FREEDMAN LLP
     COMPLIANCE WITH SUBPOENA                              200 S BISCAYNE BLVD., SUITE 5500
25   (Case No. 2:20-cv-00593-BJR)                                   MIAMI, FL 33131
                                                                  TEL.: (305) 753-3675
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                  Case 2:20-cv-00593-BJR Document 16 Filed 05/01/20 Page 2 of 4




 1                                            DECLARATION

 2           1.       I am an attorney for Plaintiffs Ira Kleiman, as the personal representative of the

 3   Estate of David Kleiman, and W&K Info Defense Research, LLC (collectively, “Plaintiffs”). I

 4   am admitted to practice in the U.S. Supreme Court, Florida, District of Columbia, U.S. Courts of

 5   Appeals for the Ninth and Eleventh Circuits, and all U.S. District Courts in Florida.

 6           2.       I am over the age of eighteen. The statements in this declaration are based on my

 7   personal knowledge and they are true and accurate to the best of my knowledge and belief. I

 8   make this declaration in support of Plaintiffs’ Second Motion to Compel.

 9           3.       Pursuant to Local Rule 37(a)(1), I certify that, on April 30, 2020, I conferred in

10   good faith with Mr. Nguyen’s and Dr. Wright’s attorneys.

11           4.       On April 30, 2020, I deposed Mr. Nguyen.

12           5.       During his deposition, both his attorney and Dr. Wright’s attorney took the

13   position that certain communications involving Mr. Nguyen and concerning the underlying

14   action were protected by the attorney-client privilege and/or common interest privilege and

15   instructed Mr. Nguyen not to answer numerous questions on that basis.

16           6.       As the deposition concluded only hours ago, Plaintiffs do not have a final version

17   of the transcript.

18           7.       Attached hereto as Exhibit 1 is a true and correct copy of the Order Amending

19   Scheduling Order, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Mar. 26,

20   2020), ECF No. 441.

21           8.       Attached hereto as Exhibit 2 is a true and correct copy of the Second Amended

22   Complaint, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Jan. 14, 2019),

23   ECF No. 83.

24   PLAINTIFFS’ MOTION TO COMPEL                                ROCHE CYRULNIK FREEDMAN LLP
     COMPLIANCE WITH SUBPOENA                                      200 S BISCAYNE BLVD., SUITE 5500
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                                                                          TEL: (305) 753-3675
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                 Case 2:20-cv-00593-BJR Document 16 Filed 05/01/20 Page 3 of 4




 1          9.       Attached hereto as Exhibit 3 is a true and correct copy of a printout of Dr. Craig

 2   Wright’s webpage, https://craigwright.net/about/.

 3          10.      Attached hereto as Exhibit 4 is a true and correct copy of Dr. Wright’s Objection

 4   to Magistrate Order on Discovery, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB

 5   (S.D. Fla. Mar. 23, 2020), ECF No. 434.

 6          11.      I conferred with Mr. Nguyen’s attorney and Defendant’s attorney at the deposition

 7   in good faith to try to resolve the issue, but we were not able to agree. I informed counsel at the

 8   time that we therefore intended to move as soon as possible for relief.

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            I declare the foregoing statements to be true under the penalties of perjury.
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     Dated: May 1, 2020                               /s/ Velvel (Devin) Freedman
12                                                    Velvel (Devin) Freedman, Esq.

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24   PLAINTIFFS’ MOTION TO COMPEL                               ROCHE CYRULNIK FREEDMAN LLP
     COMPLIANCE WITH SUBPOENA                                     200 S BISCAYNE BLVD., SUITE 5500
25   (Case No. 2:20-cv-00593-BJR)                                          MIAMI, FL 33131
                                                                         TEL.: (305) 753-3675
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               Case 2:20-cv-00593-BJR Document 16 Filed 05/01/20 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on May 1, 2020, I electronically filed the foregoing document

 3   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 4   served this day on all counsel of record via transmission of Notices of Electronic Filing

 5   generated by CM/ECF.

 6                                                     /s/ Emanuel Jacobowitz
                                                       Emanuel Jacobowitz, WSBA #39991
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24   PLAINTIFFS’ MOTION TO COMPEL                               ROCHE CYRULNIK FREEDMAN LLP
     COMPLIANCE WITH SUBPOENA                                     200 S BISCAYNE BLVD., SUITE 5500
25   (Case No. 2:20-cv-00593-BJR)                                          MIAMI, FL 33131
                                                                         TEL.: (305) 753-3675
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